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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


  CHRISTIAN ALBERTO SANTOS GARCIA,
  et al.,

                Plaintiffs,
                                                      Case No. 1:20-cv-00821 (LMB/JFA)
         v.

  ALEJANDRO MAYORKAS, et al.,

                Defendants.


                      [Proposed] ORDER GRANTING
          JOINT MOTION FOR ENTRY OF A BRIEFING SCHEDULE ON
      MOTIONS FOR SUMMARY JUDGMENT RELATING TO COUNTS II AND III
                             (42 U.S.C. § 1983)

         Upon consideration of the parties’ Joint Motion for Entry of a Briefing Schedule on

  Motions for Summary Judgment Relating to Counts II and III (42 U.S.C. § 1983) of the

  Amended Complaint, and for good cause shown, such motion is GRANTED. It is hereby

  ORDERED:

     a. The parties shall file cross-motions for summary judgment, of up to 50 pages in length,

         no later than Friday, July 16, 2021;

     b. The parties shall file memoranda in opposition, of up to 40 pages in length, no later than

         Friday, August 6, 2021;

     c. No reply memoranda are to be filed; and

     d. Oral argument is to be held at the convenience of the Court and the parties, on or after

         Friday, August 20, 2021.




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  It is SO ORDERED.


  __________________________, J.            Date: ____________
  United States District Judge




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